Case 2:23-cv-00051-JRH-BWC             Document 106         Filed 06/10/25      Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION


 JOSEPH DAVIS, et al.,

                Plaintiffs,                                 CIVIL ACTION NO.: 2:23-cv-51

        v.

 HENRY VASSA CATE, et al.,

                Defendants.


                                            ORDER

       The parties notified the Court that a settlement has been reached in this case between

Plaintiffs and Defendants Henry Vassa Cate, Village Creek Associates, LLC, Missoe, LLC,

Creek Holdings III, LLC, and Palmetto Building Group (the “VCA Defendants”). Doc. 105.

These parties are working toward completing the settlement terms. The Court hereby ORDERS

the stay imposed in its April 8, 2025 Order remain in place as to Plaintiffs and the VCA

Defendants, so the parties can finalize their agreement and file a stipulation of dismissal. The

Court DIRECTS Plaintiffs and the VCA Defendants to attend a telephonic status conference on

July 9, 2025, at 11:00 a.m. If a stipulation of dismissal is filed before the conference, the

conference will be canceled. If no stipulation has been filed by the conference, the parties should

be prepared to provide an update on their efforts to resolve this matter.

       The parties also notified the Court that a settlement has not been reached between

Plaintiffs and Defendant Village Creek Landing, LLC. The Court, therefore, LIFTS the stay

imposed in this case between Plaintiffs and Defendant Village Creek Landing, LLC. Plaintiffs

and Defendant Village Creek Landing, LLC shall file a joint status report and propose dates to
Case 2:23-cv-00051-JRH-BWC          Document 106       Filed 06/10/25   Page 2 of 2




address remaining discovery deadlines on or before June 13, 2025.

       SO ORDERED, this 10th day of June, 2025.




                                   ____________________________________
                                   BENJAMIN W. CHEESBRO
                                   UNITED STATES MAGISTRATE JUDGE
                                   SOUTHERN DISTRICT OF GEORGIA




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